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 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 JEZABEL DIMINICO, as Special                             Case No.: 2:20-cv-01305-APG-NJK
   Administrator to the Estate of FRANCISCO
 4 VASQUEZ, III, Deceased, and as heir to the           Order Granting Defendant’s Motion to
   Estate of FRANCISCO VASQUEZ, III,                    Dismiss and Plaintiff’s Motion to Amend
 5 Deceased,
                                                                       [ECF Nos. 6, 9]
 6          Plaintiff

 7 v.

 8 GEICO INSURANCE AGENCY, INC.,
   DOES I through X inclusive, and ROE
 9 CORPORATIONS I through X, inclusive,

10          Defendants

11         Defendant GEICO Insurance Agency, Inc. moves to dismiss this lawsuit against it

12 because it did not issue the subject insurance policy. ECF No. 6. Plaintiff Jezabel Diminico

13 agrees and moves to amend her complaint to substitute the proper defendant. ECF No. 9. The

14 parties agree to the requested relief, so I will grant both motions. In the future, the lawyers

15 should call or email each other to discuss such motions. That would have saved their clients the

16 cost of preparing 59 pages of unnecessary briefs and saved me the time of reading them. A one-

17 page stipulation would have been more efficient for everyone.

18         I THEREFORE ORDER that the defendant’s motion to dismiss (ECF No. 6) is granted,

19 and the plaintiff’s motion to amend (ECF No. 9) is granted.

20         DATED this 18th day of September, 2020.

21
                                                          ANDREW P. GORDON
22                                                        UNITED STATES DISTRICT JUDGE

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